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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE

 7
            STEVEN D. DOWDELL,
 8
                                 Plaintiff,
 9                                                       C20-1294 TSZ
                   v.
10                                                       MINUTE ORDER SETTING
            UNUM GROUP, a foreign
            corporation, and FIRST UNUM                  TRIAL DATE AND RELATED
11                                                       DATES
            LIFE INSURANCE COMPANY, a
            foreign corporation,
12
                                 Defendants.
13
            Having reviewed the parties’ Joint Status Report, docket no. 8, indicating that the
14
     dispute in this matter is governed by the Employee Retirement Income Security Act of
     1974 (“ERISA”), the Court sets the following dates and deadlines:
15
            BENCH TRIAL DATE (1 day)                            September 13, 2021
16
            Deadline for filing administrative record           January 11, 2021
17
            Deadline for filing any motion to conduct
18          limited discovery (such motion to be noted
            for the third Friday after filing)                  February 18, 2021
19
            Deadline for filing dispositive motions             June 24, 2021
20
            All motions related to expert witnesses
            (e.g., Daubert motion) must be filed by             July 1, 2021
21
            Agreed pretrial order due                           August 20, 2021
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     MINUTE ORDER SETTING TRIAL DATE AND RELATED DATES - 1
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 1         Trial briefs and proposed findings of fact
           and conclusions of law due                             August 20, 2021
 2
           Pretrial conference scheduled for                      August 27, 2021 at 1:30 PM
 3
           The dates and deadlines set forth herein are firm and can be changed only by order
 4 of the Court.  The Court will alter this case schedule only upon good cause shown.
   Counsel must be prepared to begin trial on the date scheduled, but should understand that
 5 the trial might have to await the completion of other cases.
           The administrative record shall be filed under seal via the Case Management and
 6
   Electronic Case Files (“CM/ECF”) system. A working copy of the administrative record
   must be provided to the Court at the time any dispositive motion is filed or at the time
 7
   trial briefs are submitted, whichever occurs first. The working copy shall be three-hole
   punched, appropriately tabbed, and bound by rubbers bands or clips.
 8
           If this case settles, counsel shall immediately notify Chambers at (206) 370-8830;
 9 failure to do so constitutes grounds for sanctions. See Local Civil Rule 11(b).

10         A copy of this Minute Order shall be sent to all counsel of record.

11         Dated this 5th day of November, 2020.

12
                                                        William M. McCool
13                                                      Clerk

14                                                      /s/ Gail Glass
                                                        Deputy Clerk
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     MINUTE ORDER SETTING TRIAL DATE AND RELATED DATES - 2
